
The Court
gave the instruction,
(Fitzhugh, J., contra.)
The Court was of opinion that the alteration was immaterial, and did not avoid the note unless it was made with the privity of the plaintiff.
Mr. Caldwell then prayed the Court to instruct the jury that if ihey should be satisfied by the evidence that the note was indorsed by the defendant to give a credit to the note and to be discounted at the bank; that it was not discounted, but passed away by Hamilton to Riggs, who took it in lieu of another smaller note of Hamilton’s and paid the difference in cash, the *607plaintiff cannot recover against the defendant more than the amount of the money so paid.
But the Coukt refused, upon the principle of negotiability of the note. The plaintiff is only bound to show that he came fairly by it, as in the case of a note payable to bearer, and lost or stolen, &amp;c.
